848 F.2d 186Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Edward SIMON, Plaintiff-Appellant,v.Grady A. WALLACE, Commissioner of the South Carolina Paroleand Community Corrections Board, Defendant-Appellee.
    No. 87-7528.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  April 21, 1988.Decided:  May 17, 1988.
    
      Edward Simon, appellant pro se.
      Pope Brooks Shealy, Jr.  (Office of the Attorney General of South Carolina), for appellee.
      Before MURNAGHAN and SPROUSE, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion accepting the recommendation of the magistrate discloses that this appeal from its order refusing relief under 42 U.S.C. Sec. 1983 is without merit.  Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument and affirm the judgment below on the reasoning of the district court.  Simon v. Wallace, C/A No. 86-924 (D.S.C. Feb. 4, 1987).
    
    
      2
      AFFIRMED.
    
    